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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DARLENE ANDREASIK,                              §
                                                §
                    Plaintiff                   §      Case No. 1:15-cv-07159
                                                §
          v.                                    §
                                                       Judge James B. Zagel
                                                §
RYAN, LLC                                       §
                                                §
                    Defendant.
                                                §

                      DEFENDANT RYAN, LLC’S ORIGINAL ANSWER
                            TO PLAINTIFF’S COMPLAINT

          COMES NOW, Defendant Ryan, LLC (“Defendant” or “Ryan”) and submits this Answer

to Plaintiff’s Complaint and would respectfully show the Court as follows:

                                               I.
                                            ANSWER

          Ryan responds to the allegations contained in Plaintiff’s Complaint by correspondingly

numbered paragraphs as follows:

                                       INTRODUCTION

          1.     Ryan admits that Plaintiff seeks relief under the theories articulated in the

introductory paragraph of Plaintiff’s Complaint but denies the remaining allegations in that

paragraph.

                                            II.
                                 JURISDICTION AND VENUE

          2.     Ryan admits that this Court has jurisdiction over this matter and that venue is

proper.
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                                          III.
                                 FACTUAL ALLEGATIONS

       3.      Ryan, on information and belief, admits the allegations in paragraph 3 of

Plaintiff’s Complaint.

       4.      Ryan admits the allegations in paragraph 4 of Plaintiff’s Complaint.

       5.      Ryan admits the allegations in paragraph 5 of Plaintiff’s Complaint.

       6.      Ryan admits the allegations in paragraph 6 of Plaintiff’s Complaint.

       7.      Ryan admits the allegations in paragraph 7 of Plaintiff’s Complaint.

       8.      Ryan denies the allegations in paragraph 8 of Plaintiff’s Complaint.

       9.      Ryan is without information sufficient to admit or deny the allegations in

paragraph 9 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.

       10.     Ryan is without information sufficient to admit or deny the allegations in

paragraph 10 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.

       11.     Ryan admits that Plaintiff sent Brint Ryan a string of unprofessional emails but is

without information sufficient to admit or deny the remaining allegations in paragraph 11 of

Plaintiff’s Complaint. To the extent a response is required, Ryan denies the allegations.

       12.     Ryan admits that the email communication sent by Plaintiff to Brint Ryan did not

make sense and were not “typical,” but denies that the emails were not “threatening” and denies

the remaining allegations in paragraph 12 of Plaintiff’s Complaint.

       13.     Ryan is without information sufficient to admit or deny the allegation in

paragraph 13 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.
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       14.     Ryan admits the allegations in paragraph 14 of Plaintiff’s Complaint.

       15.     Ryan is without information sufficient to admit or deny the allegation in

paragraph 15 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.

       16.     Ryan admits that Plaintiff sent Brint Ryan an email along the lines referenced in

paragraph 16 of Plaintiff’s Complaint, but is without knowledge as to the reasons Plaintiff sent

such an email or of Plaintiff’s mental or physical condition at the time. To the extent a response

is required, Ryan denies the allegations. Ryan denies all other allegations in paragraph 16 of

Plaintiff’s Complaint.

       17.     Ryan denies the allegations in paragraph 17 of Plaintiff’s Complaint.

       18.     Ryan admits that at some point it received medical documentation from Plaintiff’s

sister regarding Plaintiff’s condition.

       19.     Ryan denies the allegations in paragraph 19 of Plaintiff’s Complaint.

       20.     Ryan neither admits nor denies the allegations in paragraph 20 of Plaintiff’s

Complaint as such allegations set forth legal conclusions to which no response is required. To

the extent a response is required, Ryan denies the allegations.

       21.     Ryan is without information sufficient to admit or deny the allegations in

paragraph 21 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.

       22.     Ryan is without information sufficient to admit or deny the allegations in

paragraph 22 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.
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       23.     Ryan is without information sufficient to admit or deny the allegations in

paragraph 23 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.

                                               IV.
                                             COUNT I

       24.     Ryan admits that Plaintiff seeks to incorporate her previous allegations in

paragraph 24 of Plaintiff’s Complaint. Ryan likewise incorporates its previous denials and

responses.

       25.     Ryan neither admits nor denies the allegations in paragraph 25 of Plaintiff’s

Complaint as such allegations set forth legal conclusions to which no response is required. To

the extent a response is required, Ryan denies the allegations.

       26.     Ryan is without information sufficient to admit or deny the allegations in

paragraph 26 of Plaintiff’s Complaint. To the extent a response is required, Ryan denies the

allegations.

       27.     Ryan denies the allegations in paragraph 27 of Plaintiff’s Complaint.

       28.     Ryan denies the allegations in paragraph 28 of Plaintiff’s Complaint.

                                              V.
                                            COUNT II

       29.     Ryan denies the allegations in the introductory sentence of paragraph 29 of

Plaintiff’s Complaint. Ryan admits that Plaintiff seeks the relief identified in paragraph 29 of

Plaintiff’s Complaint but denies that she is entitled to same.

       30.     Ryan admits that Plaintiff seeks to incorporate her previous allegations in

paragraph 30 of Plaintiff’s Complaint. Ryan likewise incorporates its previous denials and

responses.
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       31.     Ryan neither admits nor denies the allegations in paragraph 31 of Plaintiff’s

Complaint as such allegations set forth legal conclusions to which no response is required. To

the extent a response is required, Ryan denies the allegations.

       32.     Ryan denies the allegations in paragraph 32 of Plaintiff’s Complaint.

       33.     Ryan denies the allegations in paragraph 33 of Plaintiff’s Complaint.

       34.     Ryan denies the allegations in the introductory sentence of paragraph 34 of

Plaintiff’s Complaint. Ryan admits that Plaintiff seeks the relief identified in paragraph 34 of

Plaintiff’s Complaint but denies that she is entitled to same.

                                              VI.
                                            COUNT III

       35.     Ryan admits that Plaintiff seeks to incorporate her previous allegations in

paragraph 35 of Plaintiff’s Complaint. Ryan likewise incorporates its previous denials and

responses.

       36.     Ryan denies the allegations in paragraph 36 of Plaintiff’s Complaint.

       37.     Ryan denies the allegations in paragraph 37 of Plaintiff’s Complaint.

       38.     Ryan denies the allegations in the introductory sentence of paragraph 38 of

Plaintiff’s Complaint. Ryan admits that Plaintiff seeks the relief identified in paragraph 38 of

Plaintiff’s Complaint but denies that she is entitled to same.

                                           VII.
                                      GENERAL DENIAL

       39.     Any allegations not specifically admitted, explained, modified or denied above

are expressly denied.
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                                          VIII.
                                  AFFIRMATIVE DEFENSES

        40.    Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Plaintiff’s claims are barred, in whole or in

part, to the extent that Plaintiff has failed to exhaust her administrative remedies and/or satisfied

all conditions precedent with respect to any claims not asserted in her change of discrimination.

        41.    Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Plaintiff’s claims are barred, in whole or in

part, because Plaintiff was not disabled and did not have a record of disability, nor was Plaintiff

regarded as disabled, as defined under the ADA.

        42.    Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Ryan states that it took reasonable and

good faith steps to ascertain and comply with the requirements of the statutes and laws identified

in Plaintiff’s Complaint, and any acts in violation of such statutes and laws were in contravention

of Ryan’s good faith efforts to comply with the statutes and laws identified in Plaintiff’s

Complaint.

        43.    Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Plaintiff must mitigate any and all alleged

damages, and Ryan is entitled to an offset for any amount that was or could have been earned by

Plaintiff.

        44.    Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Ryan states that all employment actions

taken by it were based on legitimate, non-discriminatory business reasons.
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       45.     Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Ryan pleads in the alternative that the

employment actions taken regarding Plaintiff would have been taken regardless of any protected

activity by Plaintiff under the statutes and laws cited in Plaintiff’s Complaint.

       46.     Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Defendant’s conduct was not willful or in

reckless disregard of Plaintiff’s rights; Defendant acted in good faith and reasonably believed

that it acted in compliance with the laws under which Plaintiff asserts claims.

       47.     Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Plaintiff has suffered no damages as a

result of any alleged wrongful conduct of Defendant.

       48.     Subject to and without waiving any prior objections, answers or defenses, and

without accepting any burden of proof on the matter, Plaintiff’s claims for compensatory,

punitive, and liquidated damages are subject to all applicable statutory caps and limitations under

any applicable federal and/or state law.

       WHEREFORE, Defendant Ryan, LLC prays that Plaintiff take nothing by way of this

suit, that Ryan recover its costs and fees incurred herein and that the Court provide Ryan all

other and further relief, legal and equitable, to which Ryan may be entitled.
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Dated: October 13, 2015              Respectfully submitted,


                                     By: /s/ Mary Ellen Vales

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served upon all counsel of record via the Court’s ECF Filing System on this 13th day of

October, 2015:

                                      Kristin M. Case
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                                                 By: /s/ Mary Ellen Vales
